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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

    ROCHE CYRULNIK FREEDMAN LLP,
                                                     21-cv-1746 (JGK)
                                Plaintiff,

                  - against -                        OPINION AND ORDER

    JASON CYRULNIK,
                              Defendant.

JOHN G. KOELTL, District Judge:

        The plaintiff, Roche Cyrulnik Freedman LLP ("RCF" or the

"Firm"), brought this action against Jason Cyrulnik for

declaratory judgment, breach of fiduciary duty, and intentional

interference with contract. Cyrulnik now moves to dismiss the

complaint pursuant to Federal Rule of Civil Procedure 12 (b) ( 1)

and, in the alternative, urges the Court to abstain from

exercising jurisdiction over the claims in favor of a state

court action that is currently stayed in Florida (the "Florida

action") . 1

        For the reasons that follow, Cyrulnik's motion to dismiss

pursuant to Federal Rule of Civil Procedure 12(b) (1) is denied,

and his request for the Court to otherwise abstain is denied.




1 The defendant's motion to dismiss also argued that this action should
be dismissed under the first-filed rule. However, because the
plaintiff agrees that the first-filed rule is inapplicable here, the
Court does not consider this argument independent from the defendant's
related argument that the Court should dismiss the plaintiff's claims
under the Wilton abstention doctrine.

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                                   I.

     The following facts are accepted as true for the purposes

of this motion.

     On August 1, 2019, lawyers Kyle Roche and Velvel Freedman

formed Roche Freedman LLP ("RF"). Am Compl. 'll 12, ECF No. 31. 2

Their goal in forming RF was to "create a cutting-edge

litigation boutique that would handle high end cryptocurrency,

cannabis, and commercial litigation matters," id., and that

would be "more collaborative, collegial, and transparent than

many traditional large law firms," id. 'll 3.

     Over the course of October and November 2019, Roche and

Freedman began negotiating an agreement to have Amos Friedland,

Nathan Holcomb, Edward Normand, and Jason Cyrulnik join RF as

founding partners of a new firm,        RCF. Id.   'll 15. On December 27,

2019, "after significant negotiations and oral understandings

and agreements had been reached," Roche, Freedman, Cyrulnik,

Normand, Friedland, and Holcomb (collectively, the "Founding

Partners") executed a memorandum of understanding (the "MOU")

"for the purposes of building a high-end litigation law firm to

be named Roche Cyrulnik Freedman LLP." Id. 'll 17. RCF was~ and




2
  Unless otherwise noted, all alterations, citations, footnotes, and
internal quotation marks in quoted text in this Opinion and Order are
omitted.
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continues to be -              registered as a limited liability partnership

 ( "LLP") in Florida. Id.            'I[   7.

             The MOU memorializes portions of the agreements

preliminarily reached between the Founding Partners. Id.                                     'I[   17.

The MOU provides that "[a] Founding Partner cannot be removed

without cause. A Founding Partner can be removed for cause only

on the affirmative vote of½ of the Firm's equity partners." Id.

'I[   26. The MOU also provides a specific mechanism for calculating

what RCF would owe to a withdrawing partner (the "withdrawal

provision"). Id.         'I[   27.

             But the MOU was "never intended to be a comprehensive

document that embodied all of the partners' negotiated terms."

Id.    'I[    23. Instead, as provided in the MOU itself, id.                        'I[    25, the

Founding Partners contemplated that a formal partnership

agreement (the "Partnership Agreement") would be negotiated and

made effective on or around January 1, 2020, id.                     'I['![   23, 25.

However, a formal agreement was never finalized.                     Id.       'I[         18.

             RCF alleges that, after the MOU was signed and RCF

commenced operations, "Cyrulnik began engaging in a pattern of

abusive behavior that impeded Firm governance" and that

"escalated over time." Id.                 'I[   29. For example, RCF argues that

Cyrulnik:

         screamed at other partners; refused to allow other
         partners to weigh in on Firm administrative matters;
         concealed financial information from other Founding

                                                   3
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     Partners   (and• commanded   the   Firm's    Director  of
     Operations to do the same); caused associates to tell
     Firm partners they would quit the Firm if forced to
     continue  working   on   his  matters;    single-mindedly
     attempted to reallocate Firm profit to himself in a
     manner that required intervention to prevent harm to
     Firm clients, associates, staff, and other partners; and
     attempted to assume total control over the Firm's
     management decisions - yelling at partners that they
     were "going rogue" when they did not obtain his
     "permission" prior to making decisions, despite partner
     emails and calls expressly addressing the decisions at
     issue.

Id.; see also id. tt 30-40. RCF alleges that Cyrulnik's conduct

"made it impossible to carry on Firm governance with Cyrulnik as

a partner." Id. t 41.

     Beginning in January 2020 and throughout the following

year, Cyrulnik allegedly refused to engage in conversations

about drafting the Partnership Agreement as required by the MOU.

Id. t 43. RCF alleges that this refusal was intended by Cyrulnik

to "leverage gaps in the incomplete document to try to seize

power and a financial advantage to the detriment of the Firm."

Id. As 2020 continued, Cyrulnik allegedly began taking steps to

"hide financial information from other partners," id.        t 45, and
his "attempts to exercise .       . unilateral, unauthorized

control" over the Firm allegedly increased, id. t 48. His

behavior soon "escalated to the point of threatening the Firm's

ability to service a client, had resulted in more abusive

interactions with partners, and had placed an associate in an

absolutely untenable and high-stress position." Id.        t 61.

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     By early 2021, it "became obvious" to the other Founding

Partners of RCF that "it was no longer possible for RCF to carry

on Firm governance with Cyrulnik as a Firm partner." Id. 'll 64.

On February 10, 2021, Roche, Freedman, Friedland, Holcomb, and

Normand "affirmatively and unanimously voted to remove Cyrulnik

for cause .     . to protect the interests of clients, associates,

staff, and the remaining partners of the Firm." Id. 'll 66. On

February 12, Roche wrote an e-mail to Cyrulnik informing him of

this decision. Id. 'll 67. In response, over a phone call later

that day, Cyrulnik allegedly "demanded [that] the Firm retract

the letter and claimed there were no grounds to remove him for

cause." Id. 'll 68. Cyrulnik also apparently stated that "he would

be open to working out a peaceful departure if the Firm

committed to give him (1) everything 'owed' to him under the

2019 MOU and (2) everything 'owed' to him pursuant to a side

letter agreement between the Named Partners." Id.

     In the time since this February 12 call, Cyrulnik has

apparently "refused to accept that he is no longer a partner at

the Firm," id. 'll 70, claiming that his removal was pretextual,

id. 'll 69. On February 26, Cyrulnik's attorney contacted the Firm

and "threatened" that if the Firm did not give Cyrulnik

"immediate unfettered access" to the Firm's bank accounts and

the right to bring in new matters, it would "guaranty"




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litigation "to protect [Cyrulnik's] unquestioned partnership

rights." Id. 'II 72.

     On February 27, 2021, RCF commenced this action in this

Court. ECF No. 1. RCF's original complaint alleged only a claim

for a declaratory relief as to the propriety of Cyrulnik's

removal from RCF and a declaration that he was therefore

entitled only to the amount provided in the withdrawal provision

of the MOU. See id. Ten days later, on March 9, 2021, Cyrulnik

commenced the Florida action against the Firm and the remaining

Founding Partners, bringing claims for dissolution, buyout,

accounting, breach of contract, breach of the implied covenant

of good faith and fair dealing, breach of fiduciary duty,

conversion, and civil conspiracy on the basis of his allegedly

improper removal. See Cyrulnik v. Roche et al., No. 2021-005837-

CA-01 (Fla. 11th Cir. Ct. filed Mar.      9, 2021). On March 12,

2021, Cyrulnik formed a new law firm, Cyrulnik Fattaruso LLP.

Rosen Deel. Exs. 6, 7, ECF Nos. 50-6, 50-7.

     On March 24, 2021, as this litigation and the litigation in

the Florida action were ongoing, RCF requested that Cyrulnik

submit billable time records for services that he rendered as an

RCF partner in 2021. Am. Compl. 'II 75, ECF No. 31. Cyrulnik's

attorney responded that "Cyrulnik would not be providing the

records unless numerous conditions were met," id. 'II 76, and "to

this day, Cyrulnik has still not provided his billable time

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records," id. i   78. RCF also alleges that clients that Cyrulnik

originated at the Firm have failed to pay their invoices since

Cyrulnik's departure. Id. i i 81-82. RCF claims that these

clients owe the Firm over $3.3 million dollars in unpaid

invoices. Id. i 82.

     On July 2, 2021, RCF amended its complaint in this Court,

adding claims for breach of fiduciary duty and intentional

interference with contract on the basis of Cyrulnik's alleged

failure to facilitate the Firm's collection of money owed to it

by Cyrulnik's clients and his purported encouragement or

inducement of his clients to withhold such payment. ECF No. 31.

On August 13, 2021, Cyrulnik brought this motion to dismiss. ECF

No. 36.

     On December 15, 2021, the Florida action was stayed pending

disposition of this federal action on RCF's motion. Roche, No.

2021-005837-CA-01, Dkt No. 56; see also Roche v. Cyrulnik, No.

3D21-1741, 2021 WL 5226566 (Fla. Dist. Ct. App. Nov. 10, 2021)

(appellate decision quashing the Florida trial court's original

order denying RCF's motion to stay).

                                   II.

     Cyrulnik first argues that RCF's claims should be dismissed

pursuant to Federal Rule of Civil Procedure 12(b) (1) for lack of

subject matter jurisdiction. For the following reasons, this

motion is denied.

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                                     A.

       The plaintiff bears the burden of proving the Court's

subject matter jurisdiction by a preponderance of the evidence.

Aurecchione v. Schoolman Transp. Sys., Inc.,        426 F.3d 635,      638

(2d Cir. 2005). In considering such a motion, the Court generally

must accept the material factual allegations in the complaint as

true. See J.S. ex rel. N.S. v. Attica Cent. Schs., 386 F.3d 107,

110 (2d Cir. 2004). The Court does not, however, draw all

reasonable inferences in the plaintiff's favor.         Id. Where

jurisdictional facts are disputed, the Court has "the power and

the obligation to consider matters outside the pleadings, such

as affidavits [and] documents,             to determine whether

subject matter jurisdiction exists." See Parks v. Off. of Temp.

&   Disability Assistance,   675 F. Supp. 2d 440,    441   (S.D.N.Y.

2009).

                                    B.

      RCF argues that the Court has subject matter jurisdiction

over its claims based on diversity of citizenship pursuant to 28

U.S.C. § 1332. Section 1332(a) (1) provides that district courts

have "original jurisdiction of all civil actions where the

matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs," and is between "citizens of

different States." For this "diversity jurisdiction" to lie,

"all plaintiffs must be citizens of states diverse from those of

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all defendants." Pa. Pub. Sch. Emps.' Ret. Sys. v. Morgan

Stanley & Co., 772 F.3d 111, 118        (2d Cir.), as amended (Nov. 12,

2014). For an individual, citizenship depends on the state in

which that person is domiciled, meaning that "place where a

person has his true fixed home and principal establishment, and

to which, whenever he is absent, he has the intention of

returning." Linardos v. Fortuna, 157 F.3d 945, 948         (2d Cir.

1998). For an LLP, citizenship depends on the citizenship of its

partners: an LLP is treated as a citizen of every state of which

its partners are citizens. Milberg LLP v. HWB Alexandra

Strategies Portfolio, No. 19-cv-4058, 2020 WL 3833829, at *2

(S.D.N.Y. July 8, 2020), aff'd sub nom. Milberg, LLP v. Drawrah

Ltd., 844 F. App'x 397    (2d Cir. 2021).

     RCF argues that the Court has diversity jurisdiction over

its claims because, at the time it filed its amended complaint,

Cyrulnik was "indisputably not an [RCF] partner" because he had

started his own law firm. Pl.'s Opp. 7, ECF No.        49. Accordingly,

it argues, the Firm did not share a domicile with Cyrulnik, and

neither did any partner, and there was therefore complete

diversity.

     Initially, this argument fails because, even where the

plaintiff files an amended complaint, the relevant frame of

reference for diversity jurisdiction is the time of the filing

of the original complaint. See Grupo Dataflux v. Atlas Glob.

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Grp., L.P., 541 U.S. 567, 571 (2004)       (affirming that diversity

jurisdiction is dependent on "the state of facts that existed at

the time of filing"); Herrick Co. v. SCS Commc'ns,          Inc.,   251

F.3d 315, 329 (2d Cir. 2001)      ("[T]he requirements of complete

diversity were not demonstrated at the time [the plaintiff]

filed its initial complaint, so           . federal jurisdiction over

the case would be invalid ab initio.").       Indeed, while a

plaintiff can amend its pleadings to cure defective

jurisdictional allegations, a plaintiff's amended pleadings

cannot cure defective jurisdiction itself. See Fund Liquidation

Holdings LLC v. Bank of Am. Corp.,       991 F.3d 370, 389 (2d Cir.

2021)    (citing Rockwell Int'l Corp. v. United States, 549 U.S.

457,    473   (2007)), cert. denied sub nom. Bank of Am. Corp. v.

Fund Liquidation, No. 21-505, 2022 WL 89304        (U.S. Jan. 10,

2022). Any change of domicile of the Firm between the filing of

the original complaint and the amended complaint is therefore

immaterial. See, e.g., Reyes v. Sprint Holdings, LLC, No. 17-cv-

624, 2018 WL 3369672, at *4      (E.D.N.Y. July 9,   2018) . 3



3  Rockwell International Corporation v. United States, 549 U.S. 457
 (2007), is not to the contrary. Rockwell held that, in determining
which allegations are relevant in the context of a claim under the
False Claims Act, courts may consider both the allegations in the
original complaint and the allegations as amended. Id. at 473-74. In
no way did Rockwell break with the United States Supreme Court's
longstanding precedent, reaffirmed only three years prior by
Rockwell's same author, that jurisdiction is determined by the
conditions as they existed at the commencement of suit. Rockwell
itself explicitly recognized the general "rule that subject-matter
jurisdiction 'depends on the state of things at the time of the action
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     However,   "where jurisdiction is so intertwined with the

merits that its resolution depends on the resolution of the

merits, the [C]ourt should use the standard applicable to a

motion for summary judgment and dismiss only where no triable

issues of fact exist." Evans v. SSN Funding, L.P., No. 15-cv-

5514, 2017 WL 3671180, at *5 (S.D.N.Y. Aug. 23,        2017); accord

London v. Polishook, 189 F.3d 196, 198-99 (2d Cir. 1999)          (citing

Careau Group v. United Farm Workers of Am., AFL-CIO,         940 F.2d

1291, 1293 (9th Cir. 1991)); 5 Charles Alan Wright, Arthur R.

Miller & Edward H. Cooper,     Federal Practice and Procedure§ 1350

(3d ed. 2020)   (" [Tl he court may postpone a decision until

evidence is submitted at trial if the jurisdictional issue is

intertwined with the merits of the case."). Importantly, this

"intertwining" rule applies in this case regardless of whether

the applicable frame of reference is the filing of the original

complaint or the amended complaint. The determination of RCF's

citizenship, whether on February 27, 2021, or on July 7,          2021,

cannot be separated from RCF's claim that Cyrulnik was properly

dissociated from the Firm. If RCF is correct on the merits of




brought.'" Id. at 473 (citing Mullan v. Torrance, 9 Wheat. 537, 539
 (1824)). The Court in Rockwell merely distinguished between the "state
of things" and the "alleged state of things," implying that while the
state of things cannot change and thereby confer or divest a court of
jurisdiction, the "alleged" state of things may. See id.; see also
Fund Liquidation, 991 F.3d at 389 (noting that Rockwell distinguished
between "[t]he state of things and the originally alleged state of
things").
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its claim for declaratory relief, diversity jurisdiction lies:

RCF's citizenship would not be dependent on Cyrulnik's

citizenship because Cyrulnik was removed from the Firm as of

February 10, 2021, before this lawsuit was filed,        and the

parties would be completely diverse. However,       if Cyrulnik is

correct on the merits of his claim that he was not properly

removed from the Firm, diversity jurisdiction is destroyed:

Cyrulnik's status as a partner of RCF would render RCF a citizen

of his home state, precluding complete diversity. In short, the

"ultimate jurisdictional issue" is "precisely the same as the

ultimate issue on the merits." Careau, 940 F.2d at 1293.

Dismissal is therefore inappropriate at this stage. See

InteliClear, LLC v. Victor (InteliClear I), No. 3:16-cv-1403,

2016 WL 5746349, at *5-6 (D. Conn. Oct. 3, 2016)        (declining to

dismiss for lack of subject matter jurisdiction because the

court's "jurisdictional determination cannot be separated from

Plaintiff's claim that Defendant, as a dissociated Member, must

be enjoined from continuing to act as a Member of [the plaintiff

firm]"),   reconsideration denied, InteliClear, LLC v. Victor

(InteliClear II), 2017 WL 2213125 (D. Conn. May 18, 2017).

     Cyrulnik's arguments against the application of the

"intertwining" rule are unpersuasive. First, deferring decision

on this intertwined jurisdictional/merits question does not

"provide an end run around the diversity statute." Def.'s Mot.

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to Dismiss 13, ECF No. 37. The Court has an obligation to

"determine whether it has jurisdiction.          . before it can

dismiss the case for lack of such jurisdiction." Inteliclear I,

2016 WL 5746349, at *3. The Court will neither dismiss the case

nor rule on the merits "until it can make the final

jurisdictional determination on a fuller factual record." Id.

Second, waiting to decide this question would not doom the

parties to re-litigating the same issues in the Florida action

if the Court finds RCF's termination of Cyrulnik improper and

dismisses RCF's complaint for lack of jurisdiction. As RCF

rightly points out, in such a situation, the Court's dismissal

would preclude relitigation of the precise issues that led to

the dismissal. See Stagg, P.C. v. U.S. Dep't of State, 983 F.3d

589, 605 n.9 (2d Cir. 2020); InteliClear II, 2017 WL 2213125, at

*4 n.10.

     Given the intertwined nature of the jurisdictional question

with the merits, "[t]he Court is satisfied that the appropriate

way to proceed is to hear and decide the factual issues bearing

on its subject matter jurisdiction, recognizing that they also

implicate elements of at least one of the substantive claims."

InteliClear I, 2016 WL 5746349, at *5. Cyrulnik's motion to

dismiss for lack of subject matter jurisdiction is accordingly

denied.




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                                  III.

     Cyrulnik argues that, in the event that the Court finds it

has subject matter jurisdiction over RCF's claims, it should

nonetheless abstain from hearing this case in favor of the

Florida action. Cyrulnik argues that abstention is proper on the

basis of one of three abstention doctrines: Wilton, Colorado

River, or Burford. For the reasons explained below, none of

these are applicable.

                          A. Wilton Abstention

     First, abstention based on the Wilton abstention doctrine,

Wilton v. Seven Falls Co., 515 U.S. 277      (1995), is inappropriate

in this case.

     The Declaratory Judgment Act permits, rather than mandates,

district courts to grant declaratory relief. 28 U.S.C.

§ 220l(a). Wilton explains that the purpose of the Act is to

"place a remedial arrow in the district court's quiver; it

created an opportunity, rather than a duty, to grant a new form

of relief to qualifying litigants." Wilton, 515 U.S. at 288.

According to Wilton, in suits brought under the Declaratory

Judgment Act, "the normal principle that federal courts should

adjudicate claims within their jurisdiction yields to

considerations of practicality and wise judicial

administration." Id. The general goal of the inquiry under

Wilton is to determine whether the question at issue in the

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federal suit "can better be settled in the proceeding pending in

the state court." Id. at 282              (quoting Brillhart v. Excess Ins.

Co . , 316 U . S . 4 91, 4 9 5 ( 19 4 2) ) .

       There are several factors to consider when determining

whether abstention under Wilton is appropriate, id. at 282-83,

but a prerequisite to its application is that the plaintiff

seeks "purely declaratory relief," Kanciper v. Suffolk Cty.

Soc'y for the Prevention of Cruelty to Animals, Inc., 722 F.3d

88, 93 (2d Cir. 2013). Thus, where "a plaintiff does not seek

purely declaratory relief, but also seeks damages caused by the

defendant's conduct," abstention under Wilton is inappropriate.

Id.

       This rule directly precludes application of the Wilton

doctrine in this case. In addition to seeking declaratory

relief, RCF seeks damages as a result of Cyrulnik's alleged

intentional interference with contract and his breach of

fiduciary duty. The existence of these claims for damages is

fatal to Cyrulnik's argument in favor of Wilton abstention. See,

e.g., id.; Niagara Mohawk Power Corp. v. Hudson River-Black

River Regulating Dist.,           673 F.3d 84, 106 (2d Cir. 2012);

InteliClear, LLC v. Victor (InteliClear III), 3:16-cv-1403, 2017

WL 2225212, at *2 (D. Conn. May 18, 2017).

       While Cyrulnik is correct that there is an exception to

this general rule when a plaintiff's claims for damages "stem

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from the underlying request for declaratory relief," Gen. Star

Int'l Indem. Ltd. v. Chase Manhattan Bank, No. 01-cv-11379, 2002

WL 850012, at *5 (S.D.N.Y. May 3, 2002), aff'd, 57 F. App'x 892

(2d Cir. 2003), this exception is inapplicable here. Whether

Cyrulnik is liable to RCF for intentional interference with

contract and breach of fiduciary duty - and what he might

consequently owe to RCF -    is not "contingent" on whether he was

properly removed from the partnership. Cf. id. Indeed, it can

both be that Cyrulnik was not properly removed from the Firm,

and that the claim for declaratory relief is denied, and that he

is liable for breach of fiduciary duty and intentional

interference with contract. These are separate claims.

Cyrulnik's urged exception therefore does not apply.

     Nor, contrary to Cyrulnik's argument, is there any basis

for the Court to ignore RCF's claims for damages because they

were omitted in the original complaint. The two claims for

damages that RCF added in its amended complaint are not so

facially without merit that they should be shrugged off as

tactical ploys to avoid application of the Wilton doctrine.

Moreover, even where "the applicability of Wilton abstention is

not entirely free from doubt, the wiser course is to consider

the movant's entitlement to a stay under the stricter abstention

criteria set forth in Colorado River." Nat'l Union Fire Ins. Co.

of Pittsburgh, Pa. v. Titeflex Corp., No. 07-cv-2609, 2008 WL

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11396745, at *5    (S.D.N.Y. Mar. 12, 2008). For the reasons

described below, abstention under this alternative basis is also

inappropriate.

                      B. Colorado River Abstention

     Abstention under the doctrine provided in Colorado River

Water Conservation District v. United States, 424 U.S.         800

(1976), is improper in this case.

     In Colorado River, the United States Supreme Court held

that abstention can be proper in certain situations involving

the contemporaneous exercise of concurrent jurisdiction for

reasons of "wise judicial administration, giving regard to

conservation of judicial resources and comprehensive disposition

of litigation." Id. at 817. However, there is a strong

presumption that the district court should retain jurisdiction.

A court may only abstain under Colorado River in "exceptional

circumstances," id. at 813, and "the pendency of an action in

the state court is no bar to proceedings concerning the same

matter in the Federal court having jurisdiction," id. at 817;

see also All. of Am. Insurers v. Cuomo, 854 F.2d 591,         603 (2d

Cir. 1988); Frydman v. Verschleiser,      172 F. Supp. 3d 653,       663

(S.D.N.Y. 2016).

     "Before a court evaluates the appropriateness of abstention

under Colorado River, it must make a threshold determination

that the federal and state court cases are 'parallel.'" Shields

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v. Murdoch, 891 F. Supp. 2d 567, 577 (S.D.N.Y. 2012)         (quoting

Dittmer v. Cnty. of Suffolk, 146 F.3d 113, 118 (2d Cir. 1998)).

Proceedings in state and federal court are "parallel for

purposes of abstention when the two proceedings are essentially

the same; that is, there is an identity of parties, and the

issues and relief sought are the same." Id.; see also Frydman,

172 F. Supp. at 663.

     In this case, the state and federal actions are not

parallel, and abstention under Colorado River is therefore

inappropriate. See Dittmer, 146 F.3d at 118 ("[A] finding that

the concurrent proceedings are 'parallel' is a necessary

prerequisite to abstention under Colorado River." (emphasis

added)); Farkas v. D'Oca, 857 F. Supp. 300, 303 (S.D.N.Y. 1994).

RCF brought claims in this Court for declaratory judgment on the

question of whether Cyrulnik was properly removed from the

partnership and the amount of money that he is accordingly owed,

and intentional interference with contract and breach of

fiduciary duty as a result of Cyrulnik's apparent failure to

have his clients pay their fees to the Firm after his departure.

By contrast, Cyrulnik's claims in the Florida action are for

dissolution, buyout, accounting, breach of contract, breach of

the implied covenant of good faith and fair dealing, breach of

fiduciary duty, conversion, and civil conspiracy on the basis of

Cyrulnik's allegedly improper removal from RCF. Plainly, these

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are not parallel actions. While "[p]erfect symmetry of parties

and issues is not required,n parallelism requires "a substantial

likelihood that the state litigation will dispose of all claims

presented in the federal case.n Shields, 891 F. Supp. 2d 567,

577 (S.D.N.Y. 2012). And, here, resolution of the Florida action

would dispose only of RCF's first claim for declaratory relief;

it would leave untouched its claims for intentional interference

with contract and for breach of fiduciary duty. "[W]hen

dismissal of the federal proceeding would leave a defendant free

from any proceeding on issues in question, abstention is

unwarranted.n Dalzell Mgmt. Co. v. Bardonia Plaza, LLC,         923 F.

Supp. 2d 590, 598   (S.D.N.Y. 2013). Cyrulnik's request for the

Court to abstain pursuant to the Colorado River abstention

doctrine is therefore denied.   4



                          C. Burford Abstention

     Finally, Burford abstention is inappropriate here. See

Burford v. Sun Oil Co., 319 U.S. 315 (1943).

     Under Burford, a federal court should dismiss an action

where (1)   federal court review would raise "difficult questions

of state law bearing on policy problems of substantial public


4 In coming to this conclusion, the Court is also mindful that the
Florida action is presently stayed. Staying the federal action in such
circumstances would, at least temporarily, preclude the plaintiff from
proceeding in either forum on any claim for relief. This also counsels
in favor of denying the defendant's request to abstain under Colorado
River. See, e.g., Vladimir v. Cowperthwait, No. 06-cv-5863, 2007 WL
1964157, at *2 (S.D.N.Y. July 3, 2007).
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import whose importance transcends the result in the case then

at bar," or (2) the action's "adjudication in a federal forum

would be disruptive of state efforts to establish a coherent

policy with respect to a matter of substantial public concern."

Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 726-27         (1996).

     But neither of these concerns are present here. RCF's

claims in this case are for declaratory relief as to the

propriety of Cyrulnik's removal from RCF under Florida state

law, and for damages as a result of his alleged breach of

fiduciary duty and intentional interference with contract. While

Cyrulnik argues that Burford abstention is appropriate because

Florida "comprehensively regulates its limited liability

partnerships," Def.'s Mot. to Dismiss 20, ECF No. 37, he does

not identify how this Court's determination of whether he was

properly dissociated from RCF would "be disruptive of state

efforts to establish a coherent policy," Cruz v. TD Bank, N.A.,

855 F. Supp. 2d 157, 169 (S.D.N.Y. 2012)       (quoting   New Orleans

Pub. Serv., Inc. v. Council of New Orleans, 491 U.S. 350, 361

(1989)), aff'd and remanded, 742 F.3d 520 (2d Cir. 2013). Put

simply, Cyrulnik has not explained why the exercise of this

Court's jurisdiction, which it has a "virtually unflagging

obligation .    . to exercise," Colorado River, 424 U.S. at 817,

would so unduly interfere with Florida's laws to warrant the

application of this exceptional doctrine, id. at 813

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("Abstention from the exercise of federal jurisdiction is the

exception, not the rule."); Quackenbush, 517 U.S. at 726-27. His

conclusory arguments to the contrary are insufficient.

     Cyrulnik argues that "[i]f this Court does not dismiss this

Action,   [he] will necessarily be forced to assert his

dissolution/dissociation claims in this action," an amendment

which he argues would "undeniably" force the Court to abstain

under Burford. Def.'s Reply 8, ECF No. 53. While it is true that

federal courts may properly abstain from ruling on motions to

dissolve state corporations, Friedman v. Revenue Management of

N.Y., Inc., 38 F.3d 668, 671 (2d Cir. 1994), federal courts have

decided actions to dissolve state partnerships, Sriram v.

Preferred Income Fund III Ltd. P'ship, 22 F.3d 498, 501-02 (2d

Cir. 1994); see also Nutronics Imaging, Inc. v. Danan, No. 96-

cv-2950, 1998 WL 426570, at *5 (E.D.N.Y. June 10, 1998). In any

event, were Cyrulnik to bring a claim for dissolution or

disassociation, the Court could abstain from that claim and not

the other claims pending in this case. See, e.g., Kermanshah v.

Kermanshah, 580 F. Supp. 2d 247, 262, 271      (S.D.N.Y. 2008)

(declining to decide claims for dissolution on the basis of

Burford but exercising jurisdiction over other claims, including

claims for breach of fiduciary duty and declaratory judgment)

There is therefore no basis to abstain under Burford, and

Cyrulnik's request is denied.

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                                   IV.

     The Court has considered all of the arguments of the

parties. To the extent not discussed above, the arguments are

either moot or without merit.

     For the foregoing reasons, the defendant's motion to

dismiss pursuant to Federal Rule of Civil Procedure 12(b) (1),

and the defendant's request for the Court to abstain, are both

denied. The Clerk is directed to close Docket No. 36.



SO ORDERED.


Dated:    New York, New York
          January 27, 2022

                                          !   John G. Koeltl
                                              /
                                         UMted States District Judge




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